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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                              Criminal No. 22MJ530 BRT

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Shamir Nathann Black,

                               Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Andrew Birrell, Attorney ID 133760 and Ian

Birrell, Attorney ID 0396379, are appointed as counsel pursuant to 18 U.S.C. § 3006A.


Dated: June 29, 2022                           s/ Becky R. Thorson
                                               Honorable Becky R. Thorson
                                               United States Magistrate Judge
